Case 2:18-bk-16598-RK Doc 36 Filed 12/14/18 Entered 12/17/18 10:33:17 Desc
Main Document Page1of1
FILED
1 || Nicholas & Luddivina Bowes DEC 14 2018
846 Broadway
2 |) Los Angeles, CA 90011 CENTRAL SiCANKRUPTCY COURT
Telephone: (323) 944-9499 Lean cermcror caress |
3 || Email: nicholas@richhoney.com ~
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5 Pro Se
6 BANKRUp ;
STRICT OF cay COURT
7 UNITED S BS BANKRUPTCY COURT
3 CENTRAL DISTRICT OF CALIFORNIA
5 LOS ANGELES DIVISION
In re:
10 Chapter 7
11 Case No. 2:18-bk-16598-RK
12 || NICHOLAS BOWES and ORDER GRANTING MOTION FOR ORDER
LUDDIVINA BOWES, COMPELLING CHAPTER 7 TRUSTEE TO
3 ABANDON ESTATE PROPERTY
| 28 1 Debtors.
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gett The Court has reviewed Debtors’ Motion for Order Compelling Chapter 7 Trustee to
. 30 Abandon Estate Property [Docket No. 32] (“Motion”). No opposition having been filed, and
ot good cause appearing.
IT IS HEREBY ORDERED:
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1. The stock of Rich Honey, Inc. is ordered abandoned.
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2. The Motion is GRANTED.
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21 | ORTE: U.S. Bankruptcy JUUSe
28 ROBERT N. KWAN

